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                                          IN THE UNITED STATES DISTRICT COURT
                                          FOR THE EASTERN DISTRICT OF VIRGINIA

      APPLICATION TO QUAUFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83,1(D) AND LOCAL
                                                          CRIMINAL RULE 57.4
                   lu Case Number 1:11CRS29                   , Case Name USA v, Ezio Benjamin Flgueroa Vasquez
                   Party Reprcsenled by Applicant: EzIo Benjamlm Flgueroa Vasquez
To:TheHouoiable Judges of the United States District Court for the Eastern District of Virginia

                                                        PERSONAL STATEMENT

FULLNAME (uo initials, please) David Marl: Fernandez
Bar Ideutificalion Number 11147             Slate Florida
Finn Name David Fernandez. PA
Firm Phoue # 1305) 480-8788                       Direct Dial H1305) 07Q.ai<n                    FAX if          RtA.AiioR
E-Mail,'-'-'   -
Omce Malilug Address Ona SotJiheast Third Avenue. Suite 2920. Miami. FiorIda.33131

Name(s) of federal courlCs) in which I have been admitted SDFL MDFL, NDFL 3nflEDIIY

I cerllQ' that therules of thefederal court Inthedistrict inwhich I maintain my office extend a similarpro hocvice admission
privilegeto membersof the bar of titeEastern District ofVirginia.

I liftve not been reprlmauded inany court nor lias there been any action In noy court pertaining to my conduct orfitness asa
member of (he bar.

1hereby certifythat, within ninety (90) days beforethesubniissiou of thisapplication, I have readtlieLocalRules of thisCourt
and that my knowledge of theFederal Rules of Civil Procedure, theFederal Rules of Criminal Procedure, andtheFederal Rules of
Evidence is cun'cnt.


Iam        am not ^ afiiU-tinie employee ofthe United Slates ofAmerica, and if^j^uM^^^plioij^m the ndmissioii fee.
                                                                                       (Applicant's Signature)

I, the undersigned, docertify that 1am a member ofthe bar ofthis Court, not related to the applicant; that I know the applicant
personally, that the said applicantpossesses all of the qiialificatioos required for admission to the bar of (his Court; (hat I have
examined the applicant's personal slatemejil. I aCCinn that his/lier personal and professional cliaractcr and standing aregood, and
petition the court to admit the applicantpro hoc vice.


                                                      (Signn1nrE)r"                                              (Dke)
                                                      DontaeLamont Bugg                                          74042
                        y"                                    (Typed orPrinted Name)                             fVA Par Nurobcr)
Court Use Only: \i/^.
Cleric'sFee Paid
                       l/      or Exemption Grauti

Tlie motion for admission is GRANTED                     or DENIED




                            Anthony J.
                            I Inited Stttl                                                                            2<yc
                            (Judge's Signature'
